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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

MICHELLE DAY, ADMINISTRATOR
OF THE ESTATE OF JAMES AVERY
DEWEESE, SR. AND ON BEHALF OF
THE WRONGFUL DEATH BENEFICIARIES
OF JAMES AVERY DEWEESE, SR., RUTH
DEWEESE, INDIVIDUALLY, and MICHELLE
DAY INDIVIDUALLY                                                               PLAINTIFFS

v.                             Case No. 4:14-cv-00342 KGB

UNITED STATES OF AMERICA                                                      DEFENDANT

                                        JUDGMENT

       Consistent with the Opinion and Order entered on this date, and the Opinion and Order

entered on June 7, 2016, it is considered, ordered, and adjudged that plaintiff Michelle Day’s

claims against defendant United States of America are dismissed with prejudice. The relief

sought is denied.

       So adjudged this 10th day of June, 2016.



                                                  ____________________________________
                                                  Kristine G. Baker
                                                  United States District Judge
